









Affirmed and Memorandum Opinion filed January 27, 2005









Affirmed and Memorandum Opinion filed January 27,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00243-CR

____________

&nbsp;

QUOGIZIAH
BARNES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

Harris County,
Texas

Trial Court Cause No.
958,393

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

After a jury trial, appellant was convicted of the offense of
possession of a controlled substance, cocaine, weighing more than one gram but
less than four grams.&nbsp; The trial court
the trial court sentenced appellant to confinement for seven years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a written notice of
appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which she concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and no motion to review the record or pro
se response has been filed.

We agree the appeal is wholly frivolous and without
merit.&nbsp; Further, we find no reversible
error in the record.&nbsp; A discussion of the
brief would add nothing to the jurisprudence of the State.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed&nbsp;&nbsp; January 27, 2005.

Panel consists of Justices Yates,
Edelman, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).





